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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     ANTHONY'S PIZZA HOLDING COMPANY, LLC
     d/b/a Anthony’s Coal Fired Pizza of Kendall, and
     LEGACY SOK ASSOCIATES, LLC

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Anthony’s Pizza Holding Company, LLC doing business as

     Anthony’s Coal Fired Pizza of Kendall and Defendant Legacy SOK Associates, LLC for

     injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with Disabilities

     Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




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            3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                PARTIES

            4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff suffers

     from what constitutes a “qualified disability” under the ADA as he is disabled with

     neuropathy and nerve damage due to radiation and utilizes a wheelchair for mobility.

     Plaintiff’s disability is defined in 42 US Code §12102(1)(A), (2) and in 28 C.F.R.

     §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

            5.      Defendant Anthony’s Pizza Holding Company, LLC (also referenced as

     “Defendant Pizza Co,” “operator,” lessee” or “co-Defendant”) is a Florida limited liability

     company.

            6.      Defendant Legacy SOK Associates, LLC (also referenced as “Defendant

     Legacy,” “lessor,” “owner,” or “co-Defendant”) is a Florida limited liability company and is

     the owner of real property located at 12502 SW 88th Street, Miami Florida 33186. Defendant

     Legacy’s real property is more fully designated as Folio 30-5901-008-0010 and is a

     commercial property which is built-out as a community shopping center. The property is

     referenced throughout as “12502 SW 88th Street.”

                                                 FACTS

            7.      Defendant Legacy leases a portion of its community shopping center to co-

     Defendant Pizza Co (the lessee). The lessee in turn operates its Anthony’s Coal Fired Pizza

     restaurant within that leased space.

            8.      The Anthony’s Coal Fired Pizza of Kendall restaurant serves food and drinks and

     is open to the general public and therefore is a place of public accommodation pursuant to




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     42 U.S.C. §12181(7)(B) as “[A] restaurant, bar, or other establishment serving food or

     drink.” The Anthony’s Coal Fired Pizza of Kendall restaurant which is the subject to this action

     is also referred to as “Anthony’s Coal Fired Pizza (restaurant),” “Anthony’s restaurant,”

     “restaurant,” or “place of public accommodation.”

            9.      Anthony’s Coal Fired Pizza restaurants are a chain of casual Italian pizza

     restaurants. Defendant Pizza Co was founded in 2002 by the Anthony Bruno, Jr., the son of

     a New York restaurateur who had been operating its Runway 84 Italian restaurant in Fort

     Lauderdale since 1982. Anthony Bruno Jr. brought the concept of coal fired pizza ovens to

     South Florida and since its 2002 inception, Anthony’s Coal Fired Pizza has achieved a cult-

     like following of pizza enthusiasts and operates 60 locations nationwide. As the

     owner/operator of a chain of restaurants open to the public, Defendant Pizza Co is defined

     as a “Public Accommodation" within meaning of Title III because it is a private entity

     which owns and operates establishments serving food and drinks; 42 U.S.C.

     §12182, §12181(7)(B); 28 C.F.R. §36.104(2).

            10.     On May 31, 2021 Plaintiff went to the restaurant with the intent of

     purchasing a meal and eating in the dining area located therein.

            11.     On    patronizing    the   Anthony’s     restaurant,      Plaintiff   had   difficulty

     perambulating in his wheelchair to the restaurant entrance due to encroaching items in the

     parking lot and the non-compliant ramp. Further, while Plaintiff was dining in the

     restaurant, he went to the restroom and while in the restroom Plaintiff met multiple areas of

     inaccessibility due to the fact that he is confined to his wheelchair.

            12.     Due to the inaccessible restroom facilities and non-complaint egress, Plaintiff

     has been denied full and equal access by the co-Defendants.




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            13.     While Plaintiff had purchased and ate a meal at the Anthony’s Coal Fired

     Pizza of Kendall restaurant, Plaintiff left feeling excluded, humiliated and dejected.

            14.     Plaintiff has been denied full and equal access to, and full and equal

     enjoyment of the Anthony’s Coal Fired Pizza of Kendall restaurant.

            15.     On information and belief, Defendant Pizza Co is well aware of the need to

     provide equal access to individuals with disabilities as it is an entity which operates sixty

     Anthony’s Coal Fired Pizza brand restaurants nationwide. Defendant Pizza Co’s failure to

     reasonably accommodate individuals with disabilities at its 12502 SW 88th Street restaurant

     location is/was willful, malicious and oppressive and in compete disregard for the Civil

     Rights of Plaintiff and in violation of 28 C.F.R. §36.302(c).

            16.     As the owner of a community shopping center of which a portion is built out

     as a restaurant open to the general public, Defendant Legacy is also defined as a “Public

     Accommodation" within meaning of Title III; 42 U.S.C. §12182, §12181(7)(B); 28 C.F.R.

     §36.104(2). On information and belief, as an investor in commercial property, Defendant

     Legacy is aware of the ADA and the need to provide for equal access within its community

     shopping center property. Therefore, Defendant Legacy’s failure to reasonably

     accommodate individuals with disabilities is/was willful, malicious, and oppressive and in

     compete disregard for the Civil Rights of Plaintiff and in violation of 28 C.F.R. §36.302(c).

            17.     Based on the access impediments delineated herein, Plaintiff has been denied

     full and equal access by the operator/lessee of that restaurant (Defendant Pizza Co) and by

     the owner/lessor of the commercial property which houses the restaurant (Defendant

     Legacy).




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             18.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             19.       Plaintiff is and has been a customer of Anthony’s Coal Fired Pizza

     restaurants and continues to desire to return to the Anthony’s restaurant Kendall location to

     purchase food and drink/eat in the dining area provided, but Plaintiff continues to be injured

     in that he is concerned that he will again be humiliated, segregated, and discriminated

     against due to the architectural barriers and other barriers to access, all which are in

     violation of the ADA.

             20.       Any and all requisite notice has been provided.

             21.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from the Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

             22.       The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Thirty years have passed since enactment of the ADA and there is no excuse for public

     accommodations and places of public accommodation to have failed to comply with the

     legislation.

             23.       Congress explicitly stated that the purpose of the ADA was to:

             (i)       provide a clear and comprehensive national mandate for the
                       elimination of discrimination against individuals with disabilities;
             (ii)      provide clear, strong, consistent, enforceable standards addressing
                       discrimination against individuals with disabilities; and,



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            (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced on a daily
                     by people with disabilities.

                    42 U.S.C. §12101(b)(1)(2) and (4).

            24.     Prior to the filing of this lawsuit, Plaintiff personally visited the Anthony’s

     Coal Fired Pizza restaurant in Kendell in order to purchase and eat a meal in the dining area

     provided therein, however Plaintiff was denied adequate accommodation because, as a

     disabled individual who utilizes a wheelchair for mobility, he met barriers to access.

     Therefore, Plaintiff has suffered an injury in fact.

            25.     Defendant Pizza Co (lessee/operator of the Anthony’s Coal Fired Pizza of

     Kendall restaurant) and Defendant Legacy (owner/lessor of the commercial property being

     operated as a Anthony’s Coal Fired Pizza restaurant) have discriminated (and continue to

     discriminate) against Plaintiff by denying full and equal access to, and full and equal

     enjoyment of, goods, services, facilities, privileges, advantages and/or accommodations at

     the Anthony’s Coal Fired Pizza of Kendall restaurant, in derogation of 42 U.S.C. §12101 et.

     seq., and as prohibited by 42 U.S.C. §12182 et. seq. by failing to barriers to access pursuant

     to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

            26.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Anthony’s Coal Fired Pizza of Kendall restaurant.

            27.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against disabled

     patrons in derogation of 28 C.F.R. Part 36.




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            28.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

            29.     The commercial space which is owned by Defendant Legacy (owner/lessor)

     houses the Anthony’s Coal Fired Pizza of Kendall restaurant which is operated by Defendant

     Pizza Co (tenant/lessee). This commercial space is in violation of 42 U.S.C. §12181 et. seq.,

     the ADA and 28 C.F.R. §36.302 et. seq., and both the owner/lessor and the tenant/lessee are

     discriminating against the Plaintiff as a result of inter alia, the following specific violations:

       i.   As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

            the property) (jointly and severally), Plaintiff had difficulty exiting his vehicle, as the

            designated handicapped accessible parking space was obstructed by an ashtray

            which encroached across the access aisle. The fact that an item was encroaching over

            the accessible parking space access aisle has violated Section 4.6.3 of the ADAAG

            and Section 502.3 of the 2010 ADA Standards for Accessible Design. The ashtray

            encroachment has also resulted in the designated parking not providing an accessible

            route to the restaurant, which in violation of C.F.R. Part 36, Section 4.3.2(2) which

            states: “at least one accessible route shall connect accessible buildings … on the

            same site.”

      ii.   As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

            the property) (jointly and severally), Plaintiff had difficulty using the ramp provided




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             because the ramp handrails do not have the required top extensions. The fact that the

             ramp is missing the left top extension is a violation of Section 4.8.5 of the ADAAG

             and Section 505.10.1 of the 2010 ADA Standards for Accessible Design.

      iii.   As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

             the property) (jointly and severally), Plaintiff had difficulty opening the restroom

             door, as the amount of force required to open the door required excessive

             weight/force to open. This is in violation of Section 4.13.11 of the ADAAG and

             404.2.9 of the 2010 ADA Standards for Accessible Design. The door opening force

             shall not be greater than that delineated at 28 C.F.R. Part 36.211. Section 404.2.7

             states that operable parts on doors and gates must comply with 309.4 and Section

             404.2.9 states that the force required to activate the door shall be 5 pounds maximum

             for interior doors (such as restroom doors).

      iv.    As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

             the property) (jointly and severally), Plaintiff could not enter the accessible stall area

             without assistance, as the door has non-compliant hardware. Failure to provide door

             hardware which is accessible to the disabled is in violation of the 2010 ADA

             Standards for Accessible Design which requires that handles pulls and latches must

             have hardware in a shape that is easy to grasp with one hand as per 28 C.F.R. Part 36

             Section 4.13.9 and 2010 ADA Standards for Accessible Design, Section 404.2.7

             (door hardware must be operable with a closed fist or a loose grip) and §309.4

             (operable parts are to be operable with one hand and shall not require tight grasping,

             pinching, or twisting of the wrist and have a force required to activate no more than

             5 pounds).




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      v.    As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

            the property) (jointly and severally), Plaintiff could not use the toilet without

            assistance, as the toilet paper dispenser is not in the proper position in front of the

            water closet or at the correct height above the finished floor, in violation of 2010

            ADAAG §§604, 604.7 which states that toilet paper dispensers shall comply with

            Section 309.4 and shall be 7 inches (180 cm) minimum and 9 inches (230 cm)

            maximum in front of the water closet measured to the centerline of the dispenser.

            Further, the outlet of the dispenser shall be 15 inches (380 mm) minimum and 48

            inches (1220 mm) maximum above the finish floor and shall not be located behind

            grab bars. Section 604.9.6 further states that there must be a clearance of 1½ inches

            (38 mm) minimum below the grab bar and that dispensers shall not be of a type that

            controls delivery or that does not allow continuous paper flow. The subject toilet

            paper dispenser is in violation of these sections.

      vi.   As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

            the property) (jointly and severally), failure to fully wrap and maintain the lavatory

            pipes and water supply lines in the lavatory (inside the stall) such that Plaintiff was

            exposed to a cutting/burning hazard, which is in violation of Section 4.19.4 of the

            ADAAG and Section 606.5 of the 2010 ADA Standards for Accessible Design.

     vii.   As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

            the property) (jointly and severally), Plaintiff could not use the lavatory sink (outside

            the stall) without assistance, as the lavatory sink does not provide the appropriate

            knee clearance of at least 27 in (685 mm) high 30 in (760 mm) wide, and 19 in 485

            mm) deep underneath the sink, in violation of 28 C.F.R. Part 36, Section 4.24.3;




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             2010 ADA Standards for Accessible Design and Sections 4.19.2 and 4.2.4 of the

             ADAAG and Sections 606.2 and 305.3 of the 2010 ADA Standards for Accessible

             Design.

     viii.   As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

             the property) (jointly and severally), Plaintiff could not use the lavatory (outside the

             stall) without assistance, as it is mounted too high. The fact that the lavatory sink is

             at an inaccessible height because it is mounted over the required height to the top of

             the counter above the finished floor is a violation of the requirements in Section

             4.19.2 of the ADAAG and Section 606.3 and Section 604.4 (as related to the faucet

             within that sink) of the 2010 ADA Standards for Accessible Design.

      ix.    As to Defendant Pizza Co (lessee/operator) and Defendant Legacy (owner/lessor of

             the property) (jointly and severally), Plaintiff could not use the lavatory mirror

             (outside the stall) as the lavatory mirror is mounted too high, which is in violation of

             Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the ADAAG, and Section

             603.3 of the 2010 ADA Standards for Accessible Design.

             30.    More access barrier violations may be present, which will be determined and

     proven through the discovery process.

             31.    Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

     are required to make the Anthony’s Coal Fired Pizza of Kendall restaurant commercial space

     accessible to persons with disabilities since January 28, 1992. Defendants have jointly and

     severally failed to comply with this mandate.

             32.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the




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     restaurant therein such that it is made readily accessible to, and useable by, individuals with

     disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against the

     property lessor Defendant Legacy SOK Associates, LLC (owner of the commercial property

     housing the Anthony’s Coal Fired Pizza restaurant) and Defendant Anthony’s Pizza Holding

     Company, LLC (the lessee and operator of the restaurant) and requests the following relief:

               a)       The Court declare that Defendants have violated the ADA;

               b)       The Court enter an Order directing Defendants to evaluate and neutralize

               their policies, practices and procedures toward persons with disabilities,

               c)       The Court enter an Order requiring Defendants to alter the commercial

               property and the Anthony’s Coal Fired Pizza restaurant such that all areas are

               accessible to and usable by individuals with disabilities to the full extent required

               by the Title III of the ADA;

               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 21st day of June 2021.

                                                   Respectfully submitted,

                                                   /s/ J. Courtney Cunningham
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